Scott Lieske
Chapter 13 Trustee
United States Bankruptcy Court
P. O. Box 510920

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April 12, 2022

Clerk of the US Bankruptcy Court wn & s$

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Milwaukee, WI 53202 S56 >
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RE: MICHAEL TYRONNE STABLER
Case No. 21-22199-RMB

Dear Clerk of the US Bankruptcy Court:
Enclosed please find check # 1652376 in the amount of $5,591.07. This check replaces the

following check, for the same dollar amount, in the above case:

Original Check No.: 1645115
Michael Tyronne Stabler
7736 West Heather Avenue

Milwaukee, WI 53223

Original Payee:
Please deposit these funds as unclaimed funds, as they were returned by the United States

Postal Service or were uncashed by the original payee.

Thank you,
Scatt Lieske

Scott Lieske
Chapter 13 Standing Trustee

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Case 21-22199-rmb

 

 
